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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED FOOD AND COMMERCIAL
WORKERS LOCAL 1546 HEALTH &
WELFARE FUND, and UNITED FOOD
AND COMMERCIAL WORKERS LOCAL
1546 PENSION FUND,

Vv.

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)
Plaintiffs, )
)
FROZEN ASSETS COLD STORAGE, LLC, )
)

)

Defendant.

COMPLAINT

Plaintiffs, UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1546 HEALTH
& WELFARE FUND, and UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1546
PENSION FUND, by and through its attorneys, Robert B. Greenberg, Sam Hensel and Matthew
S. Jarka of Asher, Gittler & D'Alba, Ltd., complaining of Defendant, FROZEN ASSETS COLD
STORAGE, LLC, allege as follows:

1, This action is brought under the provisions of Sections 502(g)(2), (a)(3), of the
Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C., Secs. 1132(g)(2),
(a)(3), and 1145.

2. Jurisdiction in this Court is based upon Sections 502(e)(1) and 502(e)(2) of
ERISA [29 U.S.C. Sec. 1132(e)(1) and (e)(2)], which states in relevant part:

Where an action under this subchapter is brought in a district court of the United
States, it may be brought in the district where the plan is administered, where the
breach took place, or where a defendant resides or may be found, and process may
be served in any other district where a defendant resides or may be found.
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3. The UFCW LOCAL 1546 HEALTH & WELFARE FUND AND UFCW LOCAL
1546 PENSION FUND (“FUNDS”) have been established pursuant to collective bargaining
agreements heretofore entered into between the UFCW Local 1546 ("Union") and Defendant,
and the Fund is maintained and administered in accordance with and pursuant to the provisions
of Section 302(c)(5) of the National Labor Relations Act, as amended, ERISA and other
applicable federal law and the Fund is administered pursuant to the terms and provisions of a
certain Restated Agreement and Declaration of Trust ("Trust Agreement").

4. The Fund office is located at 1649 West Adams Street, Chicago, Illinois 60612, and
the Fund is administered in the Northern District of Illinois.

5. As provided in the Trust Agreement, Plaintiff is required to receive, hold and
manage all monies required to be contributed to the Fund in accordance with the provisions of
the then applicable Collective Bargaining Agreement for the uses and purposes set forth in the
Trust Agreement.

6. Defendant is an employer engaged in an industry affecting commerce and
maintains its principal place of business at 2635 South Western Avenue, Chicago, IL 60608.

7. Defendant employs or has employed persons represented for collective bargaining
purposes by the Union and agreed to be bound by the Collective Bargaining Agreement or
agreements referred to herein, by the terms of which Defendant was required to contribute to the
Fund.

8. Plaintiff is advised and believes that Defendant has repeatedly failed to submit
accurate contribution reports and the required payments thereon to the Fund pursuant to the
terms of the Collective Bargaining Agreement by which it was bound, all in violation of its
contractual obligations and its obligations under applicable federal statutes.

9. As aresult of the above-described omissions and breaches of agreement by
Defendant, Plaintiff may be required to (a) deny the employee beneficiaries for whom
contributions have not been made the benefits provided under the benefit plan, thereby causing
to such employee beneficiaries substantial and irreparable damage, or (b) to provide to
employees of Defendant the benefits provided under the benefit plan, notwithstanding
Defendant's failure to make the required contributions thereto, thereby reducing the corpus of
such Fund and endangering the rights of the employee beneficiaries thereunder on whose behalf

contributions are being made, all to their substantial and irreparable injury.
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10. Plaintiff, in its behalf, and on behalf of all employees for whose benefit the Fund
was established, has requested Defendant to perform its obligations, but Defendant has refused
and failed to perform as herein alleged.

11. Plaintiff is without an adequate remedy at law and will suffer immediate,
continuing and irreconcilable injury and damage unless Defendant is ordered to specifically
perform all of its obligations required under the Collective Bargaining Agreement and the Trust
Agreement, and is restrained from continuing to refuse to perform as thereunder required.

12. Defendant is delinquent to the Funds for the period December 2019 through
January 31, 2020, in the amount of $125,445.86.

13. Defendant's failure to pay is a violation of the Collective Bargaining Agreement
and the Trust Agreement. Plaintiff, therefore, seeks enforcement of these provisions pursuant to
Section 502(g)(2, (a)(3) and 515 of the Employee Income Security Act of 1947 ("ERISA"), 29
U.S.C., Sec. 1132(g)(2), (a)(), and 1145.

WHEREFORE, Plaintiffs prays:

(a) That judgment enter in favor of Plaintiffs and against Defendant in the sum of
ONE HUNDRED TWENTY-FIVE THOUSAND FOUR HUNDRED FORTY-FOUR AND
86/100 DOLLARS ($125,445.86).

(b) That Defendant be compelled to account to Plaintiffs for contributions due as
aforesaid and to pay to Plaintiffs the amount found due and owing in accordance with the
applicable provisions of its Collective Bargaining Agreement.

(c) That Plaintiffs be awarded their costs, including reasonable attorney's fees
incurred in the prosecution of this action as provided in the Collective Bargaining Agreement
and under the applicable provisions of ERISA, as amended.

(d) That interest and/or liquidated damages be assessed against Defendant as
provided in the Collect Bargaining Agreement and the applicable provisions of ERISA, as
amended.

(e) That Defendant be specifically ordered to furnish to Plaintiffs the required
monthly contribution reports and payments due thereunder and to continue to perform all
obligations on Defendant's part according the terms and conditions of its Collective Bargaining

Agreement.
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(f) For such other and further relief as the Court may determine just and proper.

/s/ Robert B. Greenberg

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